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UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
October 20, 2014
ACO-006
No. 14-1825

 

UNITED STATES OF AMERICA
v.

DANIEL JENKINS, a/k/a OD,
Appellant

(D.N.J. No. 2-13-cr-00646-001)
Present: RENDELL, CHAGARES and SCIRICA, Circuit Judges

1. Motion by Appellee to Enforce Appellate Waiver, for Summary
Affirmance;

2. Pro Se Motion by Appellant to Dismiss and Appoint New Counsel;
3. Motion by Michael V. Gilberti to Withdraw as Counsel for Appellant; and

4. Appellant’s Pro Se Response in Opposition to the Motion to Enforce
Appellate Waiver.

Respectfully,
Clerk/cjg

ORDER
The foregoing Motion by Appellee to Enforce Appellate Waiver, for Summary
Affirmance is granted; Pro Se Motion by Appellant to Dismiss and Appoint New Counsel
is denied; and, Motion by Michael V. Gilberti to Withdraw as Counsel for Appellant is
granted.

 

 

By the Court,

s/ Marjorie O, Rendell
Circuit Judge

Dated: December 9, 2014

CJG/ce: Mark E. Coyne, Esq.

Glenn J. Moramarco, Esq.
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Michael V. Gilberti, Esq.
Daniel Jenkins
